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16
                                       SAN FRANCISCO DIVISION
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18   UNITED STATES OF AMERICA,                        )   NO.: 3:20-mj-71049 MAG
                                                      )
19           Plaintiff,                               )   STIPULATION AND [PROPOSED] ORDER
                                                      )   CONTINUING STATUS CONFERENCE AND
20      v.                                            )   EXCLUDING TIME UNDER THE SPEEDY TRIAL
                                                      )   ACT AND FEDERAL RULE OF CRIMINAL
21   NIMA FAZELI,                                     )   PROCEDURE 5.1(c) AND (d)
                                                      )
22           Defendant.                               )
                                                      )
23

24           This matter is currently set for a bond hearing on August 27, 2020. The parties last appeared on
25 August 13, 2020, and were ordered to meet and confer regarding the defendant’s conditions of release.

26 The parties continue to confer on appropriate conditions going forward and stipulate and agree that a

27 further continuance of approximately 14 days is appropriate. The parties are hopeful that agreed-upon

28 conditions of release will be finalized by that time. The parties therefore propose that the bond hearing
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 1 be continued from August 27, 2020, to 10:30am on September 11, 2020, and that current conditions

 2 remain in place until then.

 3          The parties further stipulate and agree to a further continuance of the preliminary hearing, for

 4 which time has been excluded through September 23, 2020. The parties are currently exploring

 5 potential resolution of this matter. The parties therefore propose that the hearing currently set for

 6 September 23, 2020 be continued to 10:30am on October 7, 2020. The parties further stipulate and

 7 agree that such time should be excluded under Federal Rule of Criminal Procedure 5.1 and the Speedy

 8 Trial Act. The government has made an initial production of discovery, which defense counsel is

 9 reviewing. For these reasons, the parties stipulate and agree that excluding time until October 7, 2020,

10 will allow for the effective preparation of counsel. See 18 U.S.C. § 3161(h)(7)(B)(iv); FRCP 5.1(c) and

11 (d). The parties further stipulate and agree that the ends of justice served by excluding time through

12 October 7, 2020 from computation under the Speedy Trial Act and Federal Rule of Criminal Procedure

13 5.1(c) and (d) outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. §§

14 3161(h)(7)(A), (B)(iv).

15          The undersigned Assistant United States Attorney certifies that he has obtained approval from

16 counsel for the defendant to file this stipulation and proposed order.

17          IT IS SO STIPULATED

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19 DATED: August 26, 2020                                 Respectfully submitted,

20                                                        DAVID L. ANDERSON
                                                          United States Attorney
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22
                                                           /s/
23                                                        ANDREW F. DAWSON
                                                          Assistant United States Attorney
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26 DATED: August 26, 2020                                  /s/
                                                          JONATHAN LYNN
27                                                        Attorney for the Defendant
28 //
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 1                                            PROPOSED ORDER

 2          Based upon the representations of counsel and for good cause shown, the Court continues the

 3 further bond hearing in this matter from August 27, 2020 to September 11, 2020. The Court further

 4 continues the status conference currently set for September 23, 2020 to October 7, 2020. The Court

 5 finds that failing to exclude the time through October 7, 2020 would unreasonably deny defense counsel

 6 and the defendant the reasonable time necessary for effective preparation and continuity of counsel,

 7 taking into account the exercise of due diligence. 18 U.S.C. §3161(h)(7)(B)(iv). The Court further finds

 8 that the ends of justice served by excluding the time through October 7, 2020, from computation under

 9 the Speedy Trial Act and Federal Rule of Criminal Procedure 5.1(c) and (d) outweighs the best interests

10 of the public and the defendant in a speedy trial. Therefore, and with the consent of the parties, IT IS

11 HEREBY ORDERED that time through October 7, 2020 shall be excluded from computation under the

12 Speedy Trial Act and Federal Rule of Criminal Procedure 5.1(c) and (d). 18 U.S.C. §§ 3161(h)(7)(A),

13 (B)(iv); FRCP 5.1(c),(d).

14          IT IS SO ORDERED.

15

16 DATED:___________________
           8/26/20                                       _____________________________________
                                                         THE HONORABLE SUSAN VAN KEULEN
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                                                         United States Magistrate Judge
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